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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
 NANCY GIMENA HUISHA-HUISHA, et al.,         )
                                             )
 Plaintiffs,                                 )
                                             )
 v.                                          )                     No. 1:21-cv-00100-EGS
                                             )
 ALEJANDRO MAYORKAS, Secretary of Homeland )
 Security, in his official capacity, et al., )
                                             )
 Defendants.                                 )
                                             )

       [PROPOSED] ORDER GRANTING PLAINTIFFS’ SECOND MOTION FOR
                  CLASSWIDE PRELIMINARY INJUNCTION

       Upon consideration of Plaintiffs’ Second Motion for Classwide Preliminary Injunction,

along with all exhibits thereto and relevant portions of the administrative record, the Court finds

that Plaintiffs have shown a likelihood of success on the merits of their claim that Defendants’

Title 42 policy—consisting of the regulation at 42 C.F.R. § 71.40 and all orders and decision

memos issued by the Centers for Disease Control and Prevention or the U.S. Department of

Health and Human Services suspending the right to introduce certain persons into the United

States—is arbitrary and capricious in violation of the Administrative Procedure Act; that the

members of the Class would suffer irreparable injury absent a preliminary injunction; that the

balance of harms weighs in favor of the Class; and that the public interest would be served by

granting a preliminary injunction.

       Accordingly, it is hereby ORDERED that Defendants, their agents, and any person acting

in concert with them are ENJOINED from applying the Title 42 policy to the Class Members,

pending final disposition of this case.




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DATE:                                      __________________________________
                                           HON. EMMET G. SULLIVAN
                                           U.S. DISTRICT JUDGE




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